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                             EXHIBIT A
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                                    PRESSURE
                                      COOKER
                                       Model# GPC-655
                                              Model# GPC-855

                                        USER MANUAL
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           Read this manual thoroughly
           before using and save it for
           future reference

           FOR CUSTOMER SERVICE
           QUESTIONS OR COMMENTS
           VISIT US @ GOURMIA.COM
           INFO@GOURMIA.COM
           OR CALL 888.552.0033




           Model: GPC-655
           Model: GPC-855
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           www.gourmia.com
           The Steelstone Group
           Brooklyn, NY

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                Welcome to the Convenient World ofthe
                   Pressure Cooker from Gourmia
           Enter the magic world of speed cooking with this Gourmia pressure cooker.
           In just a matter of minutes, you can now serve up the most deluxe dinners.
           Gone are the days of defrosting and cooking for hours on end.
           Why use a pressure cooker you ask?
           Advanced technology merges with convenience to bring you and your family
           the best of all worlds. A pressure cooker functions by trapping and sealing the
           steam to cook at higher temperatures and faster speeds, while locking in
           essential nutrients and flavors to ensure healthier, tastier and quicker meals
           cooking up to 70% faster.

           The fresh luscious aroma, and the succulent taste of the food that emerges will
           leave you wondering how you’ve managed until now. Its ease of use and many
           functions ensure that it remains your new go-to appliance. Go ahead, invite
           those guests! Have them think you’ve been preparing all day; when the cleanup
           is done, you’ll let them in on your time saving secret.

           The pages of this manual offer comprehensive instructions to guide you through
           the functions and features of the Gourmia pressure cooker. Inside this guide
           you will also find information on its modes of operation, complete step-by-step
           instructions for the operation, assembly, cleaning, and maintenance of your
           appliance.
           Please read all safety instructions thoroughly to ensure safe usage at all times.
           Thank you for your purchase! We sincerely hope you will enjoy this as well as all
           the many innovative products brought to you by Gourmia.




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                            IMPORTANT SAFEGUARDS
     IMPORTANT SAFEGUARDS
                            Before using the electrical appliance, the following basic precautions should always be followed:
                            1. This appliance is not intended for use by            10. Do not place the appliance on or near
                                persons (including children younger then 8)            combustible materials such as a tablecloth
                                with reduced physical, sensory or mental                or curtain. The accessible surfaces may
                                capabilities, or lack of experience and                become hot during use. Do not place on or
                                knowledge, unless they have supervision.               near a hot gas or electric burner, or in a heated
                            2. Check if the voltage indicated on the appliance         oven.
                               corresponds to the local main voltage before         11. Do not place the appliance against a wall
                               you connect the appliance.                              or against other appliances. Leave at least 4
                            3. Do not use with an extension cord. There is             inches of free space on the back and sides
                               a short cord provided specifically to pre-               and 4 inches of free space above the appliance.
                               vent entanglement and similar dangerous                 Do not place anything on top of the
                                                                                       appliance.
                               scenarios.
                                                                                    12. Do not use the appliance for any other purpose
                            4. Do not use the appliance if the plug, the main          than described in this manual. The use of
                               cord or the appliance itself is damaged. Always         accessory attachments not recommended
                               make sure that the plug is inserted properly            by the appliance manufacturer may cause
                               into a wall outlet.                                     injuries.
                            5. Do not operate any appliance with a damaged          13. Do not let the appliance operate unattended.
                               cord or plug or after the appliance                     Extreme caution must be used when moving
                               malfunctions, or has been damaged in any                an appliance containing hot oil or other hot
                               manner. Return appliance to the nearest                 liquids.
                               authorized service facility for examination,
                               repair or adjustment.                                14. Do not use outdoors.
                            6. Close supervison is neccesary when any               15. Do not touch the hot surfaces, use handles
                               appliance is used by or near children. Children         and knobs only. Keep your hands and face at
                               should be supervised to ensure that they do             a safe distance from the steam and from the air
                               not play with the appliance. Cleaning and user          outlet openings. Also be careful of hot steam
                               maintenance shall not be done by children               and air when you remove the cover from the
                               unless they are older than 8 and supervised.            appliance.
                            7. Do not let the cord hang over the edge of table      16. After using the appliance,the inside of the
                               or counter or touch hot surfaces.                       metal lid is very hot. Unplug from outlet when
                                                                                       not in use and before cleaning. Allow to cool
                            8. To protect against electric shock do not immerse        before putting on or taking off parts, and
                                cord, plugs, or appliance in water or other            before cleaning the applinace.
                                liquid. Do not plug in the appliance or operate
                                the control panel with wet hands.                   17. Immediately unplug the appliance if you see
                                                                                       dark smoke coming out of the appliance. Wait
                            9. Never connect this appliance to an external             for the smoke emission to stop, before you
                               timer switch or separate remote-control                 remove the pan from the appliance.
                               system in order to avoid a hazardous situation.
                               Always attach plug to appliance first, then plug     18. Do not alter or tamper with any component
                               cord in the wall outlet. To disconnect,turn off         or accessory included with this unit. Do not
                               the appliance, then remove plug from wall               use with any accessory that was not designed
                               outlet.                                                 specifically for this unit.
                                                                                    18. FOR HOUSEHOLD USE ONLY.

           4                                                                      SAVE THESE INSTRUCTIONS
                                                                      FOR CUSTOMER SERVICE VISIT US @ GOURMIA.COM OR CALL 888.552.0033
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     KNOW YOUR PRESSURE COOKER
                                                                                                  Steam
                                                 Handle                                           Release                                                     Handle
                                                 Release                                           Valve
                                                 Button


                                             Float
                                             Valve


                                                                                                                                                    EN
                                                                                                                                                  OP



                                                                                          CLOSE



                                                                                                                                                                   Pressure
                                                                                                                                                                   Cooking
                                                                                                                                                                       Keep
                                           Lock                                                                                                                        warm
                                        Indicators                                                                                                                      Menu
                                            Pressure                                                                         P
                                                                                                                                             Rice
                                                                                                                                            Eggs
                                                                                                                                                                       Options
                                                                                                     Meat                                  Sauté

                                            Build up                                                 Soup
                                                                                                     Beans
                                                                                                                                          Steam
                                                                                                                                         Yogurt
                                                                                                     Poultry                                ze
                                                                                                                                        Sterili
                                                                                                                      Pressure
                                                                                                     Dessert                               ok
                                                                                                                                   Slow Co


                                                                                                                                                                       Cancel
                                                                                                     Porridge

                                          Delay Start                                                Pressure Coo
                                                                                                                  k



                                                                                                                                  CAN
                                                                                                                                          CEL
                                                                                                                                                                       Button
                                                                                                      START
                                                                                                                                            M
                                                                                                                                        WAR
                                                                                                                                 KEEP

                                                                                                                                                                 Keep Warm
                                                                                                                RT
                                                                                                    DELAY STA                                            ER
                                                                                                                                                    TIM



                                                                                             MENU
                                                                                                                                                                   Button




                                                                                                                                                                Time
                                                             Start          Delay Start                          Menu                                           Knob
                                                            Button           Button                              Knob


                                                                     3/4


                                                Measuring
                                                                     1/2

                                                                     1/4
                                  3/4             Cup
                                 1/2

                                 1/4




                                               Spoon                                              Wire
                                                                                                  Rack



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                                                                           FOR CUSTOMER SERVICE VISIT US @ GOURMIA.COM OR CALL 888.552.0033
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                                                                                                           KNOWUSING
                   Seal Ring




                                                                                                                YOURYOUR
          Y-Ring




                                                                                                                     PRESSURE
                                                                                                                         AIR FRYER
 sure
 king
ep




                                                                                                                               COOKER
rm
Menu                                                                                           Lid
ptions


ncel
tton

                                      FULL
Warm                                         CUP

 on

                                                                                               Inner Pot


                Water
             Condesation
                Cup




                                                                                CEL
                                                                          CAN
                                                            START
                                                                                WARM
                                                                         KEEP
                                                                    RT                    ER
                                                          DELAY STA                    TIM

                          Base
                                                   MENU




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                                                                                                                   7
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     WHEN USING YOUR PRESSURE COOKER

                                       When Using Your Pressure Cooker:
                                       • Ensure that the appliance is resting on a flat, heat resistant surface before use
                                       • A minimum of four inches around the appliance should remain clear of all objects including walls,
                                         cupboards, curtains etc. while it is in operation. The lid should be clear of all objects as well.
                                       • Always attach the cord to the appliance before inserting into the socket. To disconnect, ensure
                                         the appliance is set to the off position and then remove the cord from the wall socket.
                                       • Never operate the appliance near any flammable objects.
                                       • Cook only in the inner pot. Using the electrical base can result in electric shock.
                                       • Make sure the lid is properly closed before operating. Improper use may result in scalding or other
                                         injuries.
                                       • Always inspect the steam release valve to ensure it is clear of any clogging before use.
                                       • Never open the lid before the product has cooled and all internal pressure has been released.
                                         Difficulty rotating the lid indicates that contents are still under pressure – it should never be
                                         forced open. After all the steam is released the pressure will decline and the lid will be able to
                                         rotate with ease.
                                       • Tilt the lid away from you when removing it, in order to better protect your hands and face from
                                         the excess steam.
                                       • Do not fill above the FULL line located within the inner pot. When cooking foods that expand such
                                         as rice or dried vegetables, do not fill the inner pot more than half-way. Over-filling may result in a
                                         clogged vent pipe or excess pressure.
                                       • Not all foods are compatible with a pressure cooker. Applesauce, cranberries, barley, oatmeal,
                                         cereals, split peas, pasta and rhubarb create foam which clogs the steam vent. They should not be
                                         used in a pressure cooker.
                                       • Do not use oil to fry foods in this appliance.
                                       • Paper, cardboard and plastic materials can never be placed within the appliance while it is in
                                         operation.
                                       • Never pour cold water into a hot pressure cooker.
                                       • Ensure that the appliance has completely cooled down before attaching or removing components,
                                         and before cleaning.
                                       • Do not use the inner pot with any source of heat other than this unit. Do not replace the inner pot
                                         with any accessory not created specifically for this unit.
                                       • To ensure that it retains its quality and freshness, food should not be kept warm within this unit for
                                         more than 4 hours.
                                       • Steam emitting from the circumference of the lid symbolizes a malfunction in the unit. Disconnect
                                         from its power supply and contact a local authorized repairman.




                88                                                             FOR CUSTOMER SERVICE VISIT US @ GOURMIA.COM OR CALL 888.552.0033
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                                                                                                                                                          USING YOUR PRESSURE COOKER
               Before using your pressure cooker:
                Warning: Be careful not to put anything near the steam release valve at any time.

                • Clean all surfaces of the appliance base using a damp cloth and wipe dry. Properly wash the
                  removable inner pot and lid with warm soapy water.
                • Inspect the machine to ensure that it is ready for use with the pressure and safety valves clean
                  and clear of any blockage and the rubber seal ring clean and in place around the lid.
                • To ensure that the unit is assembled and working properly, it is recommended that you fill the
                  pressure cooker to the 2/5 line and allow the pressure cooker to operate for a half-hour. Upon
                  completion, remove the water and rinse and dry the inner pot. The unit is now ready for use!




           USING YOUR PRESSURE COOKER
           1. Position the pressure cooker on a
              dry, flat and heat resistant surface.
           2. Ensure that the Seal Ring is
              properly secured around the
              removable Y-Ring. Then align the
              center of the Y-Ring with the metal
              pin in the center of the lid and
              press down firmly to secure it into
              place.
                                                                                                 FULL   CUP

           3. Insert ingredients into the
              removable pot, making sure not to
              fill the pot above the FULL line.
           Note: When cooking foods that
            expand such as rice or dried
            vegetables, do not fill the inner pot
            more than half-way. Over-filling
            may result in a clogged steam
            release valve or excess pressure.
           Note: A minimum of ½ cup of water
            must be used during any cooking                                                                             START
                                                                                                                                     CANC
                                                                                                                                            EL



                                                                                                                                           WARM
                                                                                                                                    KEEP



            process with this pressure cooker.
                                                                                                                                T
                                                                                                                     DELAY STAR                   TIM
                                                                                                                                                     ER




                                                                                                              MENU




           4. Place the inner pot into the base.
           5. Plug the pressure cooker into a
              wall outlet.

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                                                                                                                                                   USING YOUR PRESSURE COOKER
      USING YOUR PRESSURE COOKER

                                                                                                                                                 6. Place the Steam Release Valve into the
                                                                                                                                                    space on the lid by pressing down until
                                                                                                                                                    it clicks into place. Rotate the Steam
                                                                                                                        OPE
                                                                                                                              N
                                                                                                                                                    Release Valve to the “sealing” position by
                                                                   CLOSE


                                                                                                                                                    aligning the arrow on Valve to the
                                                                                                                                                    “sealing” icon (Do not rotate past the
                                                                                                                                                    icon).

                                                                                Meat
                                                                                                                     Rice
                                                                                                                    Eggs
                                                                                                                   Sauté
                                                                                                                                                 7. Secure the lid by aligning the arrow
                                                                                Soup                               Steam



                                                                                                                                                    indicator on the lid with the “open lock
                                                                                Beans                             Yogurt
                                                                                Poultry                          Sterilize
                                                                                                 Pressure
                                                                                Dessert                             Cook
                                                                                                              Slow
                                                                                 Porridge
                                                                                 Pressure Cook




                                                                                  START
                                                                                                             CANC
                                                                                                                     EL

                                                                                                                                   OP
                                                                                                                                       EN           icon” on the base. Press down firmly to
                                                                                                                                                    seal and rotate clockwise until the arrow
                                                                                                                   WARM
                                                                                                            KEEP
                                                                                          T
                                                                               DELAY STAR                                    TIM
                                                                                                                                  ER




                               CLOSE
                                                                      MENU
                                                                                                                                                    is aligned with the “closed lock icon” on
                                                                                                                                                    the base.
                                                                                                                                                 8. Turn the Menu knob to select one of the
                                                                                                                                                    preset menu options. The default cook
                                                                                                                                                    times are programmed for portions
                                                                                                                                                    under 3 lbs. For larger portions, adjust
                                                                                                                                                    the default time or use the “Pressure
                                                               Pressure                                                                             Cook” option (see step 12).
                                            Pressure           Cooking                                                         Keep
                                            Build up                                                                           warm              Note: See chart on page 14 for details of each option’s
                                                                                                                                                   default programming.
                                                                                                                                                 9. After the preset has been selected, the
                                                                                                                                                    display will show the default cook time.
                                                                                                                Rice                                The cook time can be adjusted by
                                                                           P
                                                                                                               Eggs                                 rotating the “Time” knob.
                                              Meat                                                            Sauté
                                              Soup                                                           Steam                               10. Press the START button. The display will
                                              Beans                                                  Yogurt
                                              Poultry                                               S rili
                                                                                                     te    ze                                      show the Pressure Build Up icon along
                                                               Pressure
                                              Dessert                                            Slow
                                                                                                       Cook                                        with the Pressure Build Up animation.
                                              Porridge
                                              Pressure Co
                                                          ok
                                                                                                                                                 Note: The display will also show the Keep Warm icon
                                                                                                                                                   (except when using the Yogurt preset), this indicates
                                                                                                              CEL
                                                                                           CAN                                                     that the pressure cooker will enter the Keep Warm
                                               START                                                                                               mode when the cooking cycle is done. To deactivate
                                                                                                            WAR
                                                                                                                M                                  the Keep Warm feature, press and hold the Keep
                                        Delay Start                                 KEEP
                                                                                                                                                   Warm button until the Keep Warm icon turns off.
                                       See page
                                             DELA13
                                                 Y START                                                                                    ER
                                                                                                                                       TIM
                                                                                                                                                 11. Once the internal pressure is reached,
                                                                                                                                                   the Pressure Cooking icon will appear
                                   MENU                                                                                                            and the cook time countdown will begin.
           10
            8
           10                                                                                                                 FOR CUSTOMER SERVICE VISIT US @ GOURMIA.COM OR CALL 888.552.0033
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                                                                                                                                                                                       USING YOUR
                                                                                                                            Rice
                                                                                                                           Eggs
                                       Meat                                                                               Sauté
                                       Soup
                                       Beans
                                                                                                                         Steam
                                                                                                                        Yogur
                                                                                                                                t           12. To set the pressure cooker manually,
                                       Poultry                                                                         Sterili
                                                                                                                               ze
                                                                                                                                              select the “Pressure Cook” function,




                                                                                                                                                                                             AIR FRYING
                                                                             Pressure                                           k
                                       Dessert                                                                      Slow
                                                                                                                          Coo
                                       Porridge
                                       Pressure Co
                                                   ok                                                                                         then rotate the “Time” knob to select
                                                                                                                         CEL
                                                                                                                                              your desired cooking time. Press
                                                                                                                   CAN
                                          START                                                                                               the “Start” button and proceed as




                                                                                                                                                                                                   PRESSURE
                                                                                               N                  KEEP
                                                                                                                         WAR
                                                                                                                             M                you would with any of the preset
                                                                                         OPE



                                      DELAY ST
                                     CLOSE
                                              ART
                                                                                                                                    TIM
                                                                                                                                       ER     options.
                                                                                                                                            13. At the completion of all cooking




                                                                                                                                                                                                        TIPS COOKER
                              MENU
                                                                                                                                              cycles with the exception of “yogurt”,
                                                                                      Rice
                                                                                     Eggs
                                                                                                                                              the unit will automatically enter a
                                                                                                                                              “Keep Warm” mode. While in the
                                               Meat                                 Sauté
                                               Soup                                Steam
                                               Beans                               Yogurt
                                               Poultry                            Sterilize
                                                                Pressure
                                               Dessert                               Cook
                                                                             Slow




                                                                                                                                              Keep Warm mode the display will
                                               Porridge
                                                Pressure Cook


                                                                                      EL
                                                                            CANC
                                                 START



                                              DELAY STAR
                                                         T
                                                                           KEEP
                                                                                  WARM

                                                                                              TIM
                                                                                                   ER
                                                                                                                                              show the Keep Warm icon and “bb”
                                      MENU                                                                                                    and the Keep Warm button will be
                                                                                                                                              illuminated.

                                                                                                                                            14. You can reset or cancel any function
          NOTE: For the duration of time the unit is cooking
                                                                                                                                              by pressing the “cancel” button at
          with pressure, and until the pressure is released,
                                                                                                                                              any time.
          the Float Valve will be raised and the lid is locked.
          NEVER ATTEMPT TO OPEN THE LID FOR THE                                                                                             15. The pressure will naturally begin to
          DURATION OF THE PRESSURE COOKING TIME.                                                                                              drop during the keep warm cycle.
                                                                                                                                            Note: You can only open the lid once the
                                                                                                                                             pressure is released (see page 12)
                                                                                                                                            16. To open the lid press down the red
                                                                                                                                              button on the handle and turn the
                                                                                                                                              lid counterclockwise.

                                                                                                         N
                                                                                                                                            Note: Following the Porridge and Soup
                                                                                                                                             cooking cycle or after cooking any
                                                                                                    OPE



                                      CLOSE




                                                                                                                                             other recipe with a lot of liquid, the
                                                                                                                                             Steam Release Valve should not be
                                                                                                                                             rotated to “Venting” as the steam must
                                                                                                                                             be released naturally. Turning the
                                                                                                                                             Steam Release Valve to “Venting”
                                                                                                                                             may cause hot liquid to spray from
                                                                                               EL
                                                                                     CANC
                                                       START

                                                                                              WARM
                                                                                   KEEP


                                                                                                                                             the Steam Release Valve.
                                                              T
                                                   DELAY STAR                                           TIM
                                                                                                             ER




                                         MENU




52.0033
                                                                                                                                                                                         911
                                                                                                                                                                                         11
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                                   USING THE STEAM RELEASE VALVE
                           CHART
                    CHART COOKER

                                   This Pressure Cooker is equipped
                                   with two forms of pressure release:
                                   1. Natural Release
                  SETTINGS
           YOUR PRESSURE



                                      It allows the cooker to rest
                                      after cooking until the                                                CLOSE
                                                                                                                                                               OPE
                                                                                                                                                                     N




                                      pressure naturally
                                      subsides so the lid
     USINGSETTING’S




                                      can be opened.                       Sea
                                                                              ling

                                      When foods have                                                                                                       Rice
                                                                                                                                                           Eggs




                                      high liquid contents,
                                                                                                                        Meat                              Sauté
                                                                                                                        Soup                              Steam
                                                                                                                        Beans                            Yogurt
                                                                                                                        Poultry                                 e
                                                                                                                                                        Steriliz
                                                                                                                                        Pressure
                                                                                                                        Dessert                            Cook
                                                                                                                                                     Slow



                                      such as soups, stews
                                                                                                                        Porridge

                                                                            Venting                                     Pressure Cook


                                                                                                                                                            EL
                                                                                                                                                    CANC



                                      and beans, they will
                                                                                                                          START

                                                                                                                                                          WARM
                                                                                                                                                   KEEP
                                                                                                                                  T
                                                                                                                       DELAY STAR                                   TIM
                                                                                                                                                                         ER



                                      respond best to                                                           MENU



                                      using the natural release method.
                                      This avoids splattering and foaming when
                                      the lid is opened. Foods that can rest and
                                      continue while the pressure drops, such
                                      as roasts and whole chickens, can be used
                                      with the natural release method. To use the
                                      natural release method, rotate the Steam
                                                                                                    CAUTION: Hot steam - use tongs
                                      Release Valve to “the “Sealing” icon (do not
                                                                                                n   or long utensil to turn the Steam
                                      rotate the Valve past the icon)”
                                                                    Close and keep it
                                                                                            Ope
                                                                                                             Release Valve.
                                      in that position during and after cooking
                                                                                                    Keep hands and face away from
                                      until the Float Valve drops, indicating the
                                                                                                          Steam Release Valve.
                                      pressure inside has dissipated.
                                   2. Quick Release
                                      It allows the cooker to release pressure
                                      quickly when cooking is done so the lid can be
                                      opened.
                                      Do not use this feature when pressure cooking
                                      grains, beans, rice, oatmeal, and other foods
                                      that can splatter or foam when the lid is
                                                                                                              ling
                                      opened. To use the quick release method, set                         Sea

                                      the Steam Release Valve to “Sealing” during
                                      cooking and turn it to “Venting” when the
                                                                                                            Venting
                                      cooking is done to release steam.
                                      If foods such as vegetables or seafood require
                                      a precise cooking time, turn the steam release
                                      valve to venting to quickly release the pressure
                                      and open the lid.
              12
               8
              12
              10                                                      FOR CUSTOMER SERVICE VISIT US @ GOURMIA.COM OR CALL 888.552.0033
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                                                                                                    USINGAIR
          USING THE SAUTÉ PRESET
          Before pressure cooking, many recipes will benefit from the golden color, richer
          flavors and moist results gained from sautéing. This setting allows cooking over




                                                                                                          YOUR
          high heat, without the lid




                                                                                                             FRYING
          To sauté your meats or vegetables prior to pressure cooking:




                                                                                                               PRESSURE
          1. Remove the lid from the unit.
          2. Add oil or butter into the inner pot, then add the food.




                                                                                                                    TIPS COOKER
          3. Select the “sauté” preset. Press the “start” button.
          4. Stir or turn the food as needed until the desired color and consistency is reached.
          5. Press the “cancel” button if you want to cancel the sauté preset before the timer
             finishes counting down.
          • Allow the unit to rest 2-3 minutes after canceling the sauté preset before
             begining to pressure cook. If the unit will not begin pressure cooking, allow it to
             cool for a longer period after sautéing before selecting another preset.


          USING THE DELAY START FUNCTION
          This function postpones the cooking time from beginning for up to 24 hours.
          1. Prepare desired food and place into cooking pot.
          2. Secure the lid onto the unit, turn in clockwise to lock it in place.
          3. Make sure the pressure release valve is set to the “sealing” position.
          4. Plug the pressure cooker into the wall outlet.
          5. Select a preset (step 8, page 10) or set the desired cooking time manually
             (step 12, page 11).
          6. Press the “delay start” button. The “delay start” indicator icon will illuminate and
             begin blinking. The display screen will show 0:30 which is equal to 30 minutes of
             delay time. Turn the time knob right to increase or left to decrease the desired
             time. The “delay start” time can be increased or decreased by 30 minute
             increments. The maximum delay period is 24 hours.
          7. Press the Start button. The cooking cycle will begin after the delay start time
             elapses.

           CAUTION: When using this function ensure that the foods being cooked are
             not sensitive to warm temperatures and will not spoil from remaining at
             room temperature for an extended period of time.

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      CHARTS & TIPS
                              FUNCTIONS              DEFAULT COOK TIME                   COOK TIME RANGE
                              Meat		                         15 Min		                           1-120 Min
                              Soup		                         25 Min		                           1-120 Min
                              Beans		                        40 Min		                           1-120 Min
                              Poultry		                      13 Min		                           1-120 Min
                              Dessert		                      18 Min		                           1-120 Min
                              Porridge		                     25 Min		                           1-120 Min
                              Rice		                         12 Min		                           1-120 Min
                              Eggs		                          5 Min		                           1-120 Min
                              Sauté		                         5 Min		                           1-30 Min
                              Steam		                        15 Min		                           1-120 Min
                              Yogurt		                     12:00 Hour		                       0.5-24 Hour
                              Sterilize		                    20 Min		                           1-120 Min
                              Slow Cook		                     6:00		                          0.5-24 Hour
                              Pressure Cook                  1 Min		                            1-120 Min

                                                                    WARNING:
                      • The lid cannot be opened until the pressure is fully released – do not attempt to force it open.
                                 • The lid is very hot during and after use- do not touch any of the metal parts.


                         General Tips and Tricks:
                           • Use the sauté setting to sear or brown foods in the inner pan before
                             cooking a full meal using a pressure setting.
                           • If cooking frozen food without defrosting, add ten minutes to the
                             recommended cooking time
                           • Pressure cooking requires a different liquid to solid ratio. Use recipes
                             written for pressure cooker cooking.
                           • The condensation container drains excess liquid that gathers around
                             the rim. Insert and remove the container by sliding it on and off the rails.
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                                         MEAT COOKING CHART




                                                                                             CHARTS & TIPS




           Tips for Meat:
            • Cut foods into uniform- sized peices for best results. Stew meat should be
              cut in 1-2 inch cubes.
            • Remove excess fat while cutting meat.
            • Add at least 2 cups water, broth or wine to meat for the first 15 minutes of
              pressure cooking. If cooking longer, add 1/3 cup liquid for every additional
              15 minutes of cooking.
                                                                                               15
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                                             GRAIN/RICE COOKING CHART
      CHARTS & TIPS




                       Tips for Cooking Rice
                      • Various types of rice require differing ratios of water.
                      • Do not pre-soak rice, but rinse the rice in water- if desired. Add salt, if
                        desired.
                      • Add 1 teaspoon oil or butter to the rice before cooking to heko avoid

        16              splattering.
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                                             BEAN COOKING CHART




                                                                                                                 CHARTS & TIPS
          Tips for Cooking Beans:
          • Although not required, for soft, tender beans, pre-soak in salted water for at
          least 8 hours. Stir in 2 tablespoons salt into 6 cups water and add beans. When
          done soaking, drain well.
          • Place beans in inner pot and add 1 tablespoon oil. This helps reduce foaming.
          • Add 4 cups water if cooking 1/2 pound dry beans. Add 8 cups water if cooking
          1 pound dry beans.


                                          SEAFOOD COOKING CHART
                 Note: Use the steaming rack to cook seafood. Place a heat-proof container on top of the rack.
                        Add at least 2-3 cups of water to the inner pot to reach the minimum fill line.




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                                 VEGETABLE COOKING CHART
     CHARTS & TIPS




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                                                                                            CHARTS & TIPS
            Tips for Cooking Poultry
           • Place up to 3 pounds chicken pieces or whole prepared chicken in inner
             pot.
           • For boneless, skinless chicken breast, choose sauté menu for 5 minutes,
             then pressure cook in poultry mode for 8 minutes.
           • Add at least 2 cups water, broth or wine to poultry for the first 15 minutes
             of pressure cooking. If cooking longer add 1/3 cup liquid for every
             additional 15 minutes of cooking.
           • Use fresh herbs when pressure cooking, as pressure cooking develops
             intense flavors.
           • Strain and use the cooled chicken broth as a base for delicious soups.




            Tips for Cooking Porridge
           • Soak certain grains, such as wheat berries and pearl barley in water for at
             least 4 hours before cooking. Do not add salt to the water. Frain and rinse
             before sooking.
           • Do not prepare oatmeal or other grains directly in the inner pot, as these
             cereals may splatter severely upon opening and/or clog the valve.
           • Add a pinch of salt to the oatmeal or other grains before cooking- add
             sweeteners after cooking.
           • Add a bit of oil to the oatmeal or grains to reduce foaming and splattering.




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            TROUBLESHOOTING
               CHART CHART
                              PROBLEM		                     POSSIBLE CAUSE		                                   SOLUTION
                              Lid will not close            Seal ring is not in place or missing Adjust or insert seal ring

                                                            Lid is not properly aligned with      Align the indicator line on the edge of the lid
             SETTINGS


                                                            pressure cooker base                  with the right indicator triangle and rotate the
                                                                                                  lid clockwise.
                              Lid will not open             Pressure cooker is still pressurized. The stream needs to be released by either the
                                                                                                  “natural” or “quick” release method.
     SETTING’S




                                                            The Float Valve at is stuck in the    Ensure the pressure has been released then use a
                                                            locked (up) position.                 long utensil to gently press the Float Valve down.
                              Excess steam leaking          Damaged seal ring                     Replace the seal ring
                              between the lid and the
                              pressure cooker housing       Missing seal ring                     Insert the seal ring
                                                            Build up or debris on seal ring       Remove the seal ring and clean it according to
                                                                                                  instructions.
                                                            Lid not properly attached             Ensure lid is aligned and closed. Gently push
                                                                                                  down on the lid handle.

                              Float valve will not rise     Not enough liquid added to the        Remove lid and add liquid
                              (lock) so pressure can- not   recipe.
                              build
                                                            Silicone stopper on float valve       Clean float valve and silicone stopper/ replace
                                                            is dirty or worn out.                 silicone stopper.

                              Occasional popping noise      The control board component           This is normal
                              coming from pressure          cycles with the thermostat
                              cooker                        during use.



                                                            The inner pot is wet                  Make sure the inner pot and the inside of the
                                                                                                  pressure cooker are completely dry before use

                                                            Steam release valve not properly      Remove the steam release valve and place it
                              Excessive steam coming
                                                            connected                             back inside correctly
                              from the steam release
                              valve

                              Rice is too soft              Too much water added                  Adjust the rice to water ratio to use less water

                              Rice is not fully cooked      Not enough water added                Adjust the rice to water ratio to use more water

                                                                                                  After the cook cycle has ended leave the lid in
                                                            Lid removed                           place for an additional 5 minutes.

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            10                                                    FOR CUSTOMER SERVICE VISIT US @ GOURMIA.COM OR CALL 888.552.0033
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                                                                                                                         TROUBLESHOOTING
          PROBLEM		                POSSIBLE CAUSE		                                  SOLUTION
                                   Power cord is disconnected from      Ensure cord is secured to the pressure cooker.
         Pressure cooker won’t     pressure cooker.
         energize.




                                                                                                                             AIR FRYING TIPS
                                   The sensor is experiencing an        Unplug from the power supply and wait 10
         LCD Display shows code    open circuit.
         “E1”                                                           minutes. If problem persists, contact the
                                                                        manufacturer or authorized agent regarding
                                                                        repair or replacement.
                                   The sensor is experiencing a short
         LCD Display shows code    circuit.
                                                                        Unplug from the power supply and wait 10
         “E2”                                                           minutes. If problem persists, contact the
                                                                        manufacturer or authorized agent regarding
                                                                        repair or replacement.

         LCD Display shows code    The unit is overheating.             Unplug from the power supply and wait 10
         “E3”                                                           minutes. If problem persists, contact the
                                                                        manufacturer or authorized agent regarding
                                                                        repair or replacement.

         LCD Display shows code    There is a malfunction with the      Unplug from the power supply and wait 10
         “E4”                      signal switch                        minutes. If problem persists, contact the
                                                                        manufacturer or authorized agent regarding
                                                                        repair or replacement.
         LCD Display shows “LID”   The lid is not properly secured      Ensure that the lid is properly sealed and
                                   in place.                            secured in place and try to start the machine
                                                                        again. Note: The sauté function can be
                                                                        activated without a lid.




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                        MAINTENANCE
                              CHART
                                      CLEANING AND MAINTENANCE
                                         • Clean the appliance after every use.
                     SETTINGS


                                         • Make sure the appliance is
              & MAINTENANCE
                      &CHART



                                         completely cooled off before cleaning.
                                         • Do not use metal kitchen utensils or
                                         abrasive cleaning material,
                   AND
             SETTING’S




                                         to clean the pressure cooker.
            CLEANING
         CLEANING




                                      1. The interior and exterior of the
                                      electrical base can be wiped down
                                      with a slightly damp and soft cloth,
     CLEANING




                                      using mild detergent as needed.
                                      Never immerse the pressure cooker
                                      or cord in water or any other liquid.

                                      2. The following components can be
                                      removed and washed thoroughly
                                      using mild detergent and warm
                                      running water: Lid, Seal Ring, Steam
                                                                                                                                                 EL
                                                                                                                                         CANC
                                                                                                                           START
                                                                                                                                                   M
                                                                                                                                               WAR
                                                                                                                                        KEEP


                                      Release Valve, rubber ring on the                                                  DELAY STA
                                                                                                                                   RT
                                                                                                                                                       TIM
                                                                                                                                                          ER




                                      Float Valve, inner pot, rack and
                                                                                                                  MENU




                                      Condensation cup (remove by gently
                                      grasping and firmly pulling upwards).
                                      Allow all parts to dry
                                      completely before reassembling.


                                      NOTE:
                                      • Do not use abrasive materials on the
                                      non-stick surface of the inner pot to
                                      avoid scratching.
                                      • To prevent wear and tear, do not                   NOTE: After use, ensure that the
                                      lock the lid of the pressure cooker into             appliance is completely cooled off
                                      place when storing                                   and dry before removing the cord.
                                                                                           Loosely coil the cord and store it
                                                                                           within the inner pot of the appliance.
                                                                                           Store the appliance in a clean and
                                                                                           dry location.


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               10                                                           FOR CUSTOMER SERVICE VISIT US @ GOURMIA.COM OR CALL 888.552.0033
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                     WARRANTY & SERVICE
                     This Limited Warranty is for one full year from the date
                     of purchase. It is applicable to the original purchaser
                     only and is not transferable to a third party user. Repair
                     or replacement of defective parts is solely at the seller’s
                     discretion. In the event that repair isn’t possible, the
                     seller will replace the product/part. If product repair/
                     replacement won’t suffice, the seller has the option of
                     refunding the cash value of the product or component
                     returned.

                     Product defects not covered under the Warranty
                     provisions include normal wear and damage incurred
                     from use or accidental negligence, misuse of instruction
                     specifications or repair by unauthorized parties.
                     The manufacturing company is not liable for any
                     incidental or consequential damages incurred by such
                     circumstances.




                Environment
                Do not throw away the appliance with the normal household waste
                at the end of its life, but hand it in at an official collection point for
                recycling. By doing this, you help to preserve the environment.

                Guarantee and service
                If you need service or information or if you have a problem, please visit
                our website or contact your distributor.



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                             QUESTIONS OR COMMENTS
                             VISIT US @ GOURMIA.COM
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                               OR CALL 888.552.0033
